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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
- against - 19-cr-610 (JGK)
AVIRAM AZARI, ORDER

Defendant.

 

JOHN G. KOELTL, District Judge:

The parties are directed to appear for another conference
on December 7, 2021 at 9:00 a.m.

Because a continuance is needed to assure the effective
assistance of counsel, the Court prospectively excludes the time
from today, October 5, 2021, until December 7, 2021, from Speedy
Trial Act calculations. The Court finds that the ends of justice
served by granting the continuance outweigh the best interest of
the defendant and the public in a speedy trial. This Order is
entered pursuant to 18 U.S.C. § 3161 (h) (7) {A).

SO ORDERED.

Dated: New York, New York CAL & (9'/
October 5, 2021 SoA

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